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 4
     Attorney for Defendant
 5
     FRED PINEDA
 6
                            IN THE UNITED STATES DISTRICT COURT
                          FOR THE EASTERN DISTRICT OF CALIFORNIA
 7

 8

     UNITED STATES OF AMERICA,                      )       No. CR-S-11-134-JAM
 9
                                                    )
                                                    )
10          Plaintiff,                              )       STIPULATION AND
                                                    )       ORDER CONTINUING JUDGMENT
11
     v.                                             )       SENTENCING
                                                    )
12
     FRED PINEDA,                                   )       July 8, 2014
                                                    )       Time: 9:30 a.m.
13
                                                    )       Judge: John A. Mendez
            Defendant.                              )
14
                                                    )
                                                    )
15
                                                    )
16

17

18          The parties hereby stipulate the following:
19          1. Judgment and sentencing in this matter is presently set for June 17, 2014. Counsel
20              for the parties request the date for judgment and sentencing be continued to
21              July 8, 2014 at 9:30 a.m. Counsel for Mr. Pineda needs additional time to meet with
22              Mr. Pineda, review the PSR; discuss the findings and recommendations therein; and,
23              research and draft formal objections as necessary. Assistant U.S. Attorney Michael
24              Beckwith and USPO Ronnie Preap have been advised of this request and have no
25              objection. The parties requests the Court adopt the following schedule pertaining to
26              the presentence report:
27
                Judgment and Sentencing date:                                       7/8/14
28
                Reply, or Statement of Non-Opposition:                              7/1/14


                                                        1
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 1
               Motion for Correction of the Presentence Report
 2             Shall be filed with the Court and served on the
               Probation Officer and opposing counsel no later than:         6/24/14
 3
               The Presentence Report shall be filed with the Court
 4
               And disclosed to counsel no later than:                       n/a
 5
               Counsel’s written objections to the Presentence Report
 6             Shall be delivered to the probation officer and opposing
 7
               Counsel no later than:                                        n/a

 8             The Presentence Report shall be filed with the Court
               And disclosed to counsel no later than:                       n/a
 9

10

11

12      IT IS SO STIPULATED.
13
     Dated: June 3, 2014                                        /s/ John R. Manning
14                                                             JOHN R. MANNING
                                                               Attorney for Defendant
15                                                             Fred Pineda
16

17   Dated: June 4, 2014                                       Benjamin B. Wagner
                                                               United States Attorney
18
                                                        by:    /s/ Michael Beckwith
19
                                                               MICHAEL BECKWITH
20                                                             Assistant U.S. Attorney

21

22
                                                ORDER

23
            IT IS SO FOUND AND ORDERED this 4th day of June, 2014.
24

25
                                                        /s/ John A. Mendez____________
26                                                      HON. JOHN A. MENDEZ
                                                        U.S. DISTRICT COURT JUDGE
27

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